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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

SILVER, et al.,                           )
                                          )
      Plaintiffs,                         )
                                          )
      v.                                  )                  No. 1:20-cv-1544-CKK
                                          )
INTERNAL REVENUE SERVICE, et al.,         )
                                          )
      Defendants.                         )
_________________________________________ )


                           DECLARATION OF JOSEPH A. SERGI

       I, Joseph A. Sergi, pursuant to 28 U.S.C. § 1746, declare and state to the best of my

knowledge as follows:

       1. I am employed as a Senior Litigation Counsel with the United States Department of

Justice, Tax Division in Washington, D.C. I am assigned responsibility for representing the

interests of the United States in the above-captioned case. I make this declaration in support of

the United States’ Motion to Dismiss for Lack of Jurisdiction.

       2.      The Complaint alleges that Monte Silver, LTD (“Limited”) qualifies as a small

business under the Regulatory Flexibility Act and maintains a place of business in California.

(Doc. 1 ¶¶ 5-7.) Because the Court’s jurisdiction to hear Limited’s claim under the RFA turns on

whether Limited (1) is organized for profit; (2) has a place of business located in the United

States; and (3) operates primarily within the United States or makes a significant contribution to

the U.S. economy through payment of taxes or use of American products, materials or labor, the

undersigned counsel, with the assistance of a Department of Justice librarian, searched for any

connection between Limited and the State of California. This information was derived from

databases that capture publically available information, or by searching the internet.



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3.       The following records were searched:

•        Securities and Exchange Commission Filings

•        TLO (TransUnion)

•        CLEAR (Thomson Reuters)

•        Accurint (LexisNexis)

•        Business Records (Westlaw)

•        Lexis Public Records

•        Company Reports (EBSCOhost)

•        Company Investigator (Westlaw)

•        MarketLine (formerly Datamonitor) Company Profiles (Lexis)

•        GlobalData Company Profiles (Lexis)

•        D&B Duns Private Company Insight (Lexis)

•        Dun & Bradstreet Market Identifiers (Non-US) (Lexis)

•        Duns Market Identifiers Plus (US) (Lexis)

•        Dun & Bradstreet Business or Federal Information Reports

•        Corporate Affiliations (Lexis)

•        Hoover's Company Profiles - Basic Records (Lexis)

•        Hoover's Company Records - In-Depth Records (Lexis)

•        Company Profiles (Lexis)

•        Company & Financial (Lexis)

•        California Secretary of State online business search

•        Los Angeles County Tax Collector Business License Search




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       4.      As a result of searching the databases in paragraph 3, we were not able to find any

results that showed any connection whatsoever to California. In addition, we could find no

record of Limited owning property in the state of California. Moreover, the records of the

California Secretary of State show no California business registration for Limited.

       5.      Attached hereto as Exhibit A is a true and correct copy of relevant excerpts from

the databases that shows Limited is an Israeli Corporation that does business in Israel. Also,

hereto as Exhibit B is a redacted copy of the Form 5471, Information Return of U.S. Persons

With Respect to Certain Foreign Corporations, that Plaintiff Monte Silver prepared regarding

Limited for 2017. In addition to the redactions required by Local Rule 5.4(f), this exhibit bears

additional redactions requested as requested by Plaintiffs’ counsel. In light of concerns that

Plaintiffs’ counsel raised regarding the filing of this same document in another case involving

Plaintiffs (No. 19-cv-247 (APM)), Defendants’ counsel reached out to Plaintiffs’ counsel to give

him the opportunity to suggest additional redactions. Plaintiffs’ counsel proposed the additional

redactions that appear on Form 5471.

       6.      In addition, I performed a State Bar of California licensee search for Plaintiff

Monte Silver and discovered that he lists his address as 2 Shibolet St, Ramat Hasharon 47240,

ISRAEL. Attached hereto as Exhibit C is a true and correct copy of an Attorney Licensee

Printout for Monte Silver.




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       7.      Any law firm that practices in California must file a Certificate of Registration

with the California State Bar. Cal. Rule 3.152 (Corporations); Rule 3.172 (Partnerships). We

have been unable to determine whether Limited has filed this required registration.

       I declare under the penalty of perjury that the foregoing is true and correct.

       Executed this 24th day of August in Fort Belvoir, VA.



                                                      __________________________
                                                     JOSEPH A. SERGI
                                                     Senior Litigation Counsel, Tax Division




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                              MONTE SILVER LTD; Worldbase
                                              January 14, 2020

MONTE SILVER LTD
2 SHIBOLET
RAMAT HASHARON 4724044
ISRAEL




Other Locations:
REGION: MIDDLE EAST




Communications
Other Communications Information:
CABLE TELEX: NNNNANP




Company Identifiers
DUNS:        --0423
NATIONAL:         0710-Israel Registration Number




Company Information
Founded: 2012
Legal Status: Corporation




Corporate Structure


ADDRESS:




Description
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                                       MONTE SILVER LTD; Worldbase

NONCLASSIFIABLE ESTABLISHMENTS




Market And Industry
SIC Codes:
9999 - Nonclassified establishment




Worldbase
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